AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Northern District of Illinois

                  United States of America                            )
                             v.                                       )
                                                                      )       Case No.      23 CR 216-1
                                                                      )
                     Eduardo G. Torres                                )          Charging District’s
                           Defendant                                  )          Case No.         1:23-mj-162

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                     Western          District of            Michigan   ,
(if applicable)                                     division. The defendant may need an interpreter for this language:
                                                                .

          The defendant:             will retain an attorney.
                                     is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:             4/17/2023
                                                                                               Judge’s signature

                                                                                        Magistrate Judge Jeffrey Cole
                                                                                             Printed name and title




                                                     A TRUE COPY-ATTEST
                                                  THOMAS G. BRUTON,
                                                                  -       CLERK
                                                       By: s/ AMANDA KEIL
                                                         DEPUTY CLERK
                                               U.S. DISTRICT COURT, NORTHERN
                                                      DISTRICT OF - ILLINOIS
                                                           April 18, 2023
